            Case 19-11172-pmm                      Doc       Filed 05/02/24 Entered 05/02/24 13:32:01                              Desc Main
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 Fill in this information to identify the case:
 Debtor 1    Martina M. Everette

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number 19-11172-pmm

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: Lakeview Loan Servicing, LLC.                                   Court claim no. (if known): 19

Last 4 digits of any number you use to                                            Date of payment change: 6/1/2024
identify the debtor’s account: 0061                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,644.22
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $583.13                             New escrow payment: $595.30


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Martina M. Everette                                          Case number (if known) 19-11172-pmm
           Print Name        Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ Michelle L. McGowan                      Date   4/30/2024
     Signature



  Print             Michelle L. McGowan
                    _____________________________________________                                     Title   Authorized Agent for Creditor
                    First Name                    Middle Name        Last Name


  Company           Robertson, Anschutz, Schneid, Crane & Partners, PLLC

                    13010 Morris Rd., Suite 450
  Address
                    Number       Street
                        Alpharetta, GA 30004
                    City                                                  State       Z P Code

  Contact Phone     470-321-7112                                                                      Email     mimcgowan@raslg.com




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                                         CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on _____________
                                        May 2, 2024   , I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to the
following:

MARTINA M. EVERETTE
4629 GREENE STREET
PHILADELPHIA, PA 19144

And via electronic mail to:

CIBIK LAW, P.C.
1500 WALNUT STREET, SUITE 900
PHILADELPHIA, PA 19102

KENNETH E. WEST
OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
1234 MARKET STREET - SUITE 1813
PHILADELPHIA, PA 19107

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
ROBERT N.C. NIX FEDERAL BUILDING SUITE 320
PHILADELPHIA, PA 19107


                                                   By: /s/ Olivia Pagan




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